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                                                             MOSER LAW FIRM, P.C.
Steven J. Moser, Esq.
Phone 516-671-1150
steven.moser@moserlawfirm.com


                                                      April 19, 2022

Hon. Steven L. Tiscione, USMJ
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11743

Re:    Castillo, et al. v. Perfume Worldwide, Inc. et al., 17-cv-2972

Dear Judge Tiscione:

        This office represents the Plaintiffs in the above referenced action. I write with the
consent of Counsel for the Defendants and the Claims Administrator, Settlement Services, Inc.
On March 22, 2022 an Order Granting Preliminary Approval was entered. According to that
order, the claims administrator is to mail notice within 28 days (on or before April 19, 2022).

        Defendant timely provided a class list. However, the claims administrator is working
through some issues with the data, and will be unable to meet to April 19, 2022 deadline. For
this reason, the parties jointly request that the claims administrator be granted until April 26,
2022 to mail notice.

       The fairness hearing is presently scheduled for June 24, 2022. If notice is mailed on
April 26, 2022, class members will have until May 26, 2022 to opt out or object. This is far
enough in advance of the fairness hearing that the date of the fairness hearing will be unaffected.

        For the foregoing reasons, the parties jointly request that the claims administrator be
directed to mail notice on or before April 26, 2022.

                                                      Respectfully submitted,




                                                      Steven J. Moser




                          5 east main street, Huntington, NY 11743
                              www.moseremploymentlaw.com
